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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                    CIVIL ACTION NO. 18-12058-RGS

             SECURITIES AND EXCHANGE COMMISSION,
                            Plaintiff

                                     v.

 ROGER KNOX, WINTERCAP S.A., MICHAEL T. GASTAUER, WB21 US
   INC., SILVERTON SA INC., WB21 NA INC., C CAPITAL CORP.,
             WINTERCAP SA INC., and B2 CAP INC.,
                         Defendants

                                    and

    RAIMUND GASTAUER, SIMONE GASTAUER FOEHR, B21 LTD.,
        SHAMAL INTERNATIONAL FZE, and WB21 DMCC,
                     Relief Defendants

 MEMORANDUM AND ORDER ON PLAINTIFF’S RENEWED MOTION
              FOR SUMMARY JUDGMENT

                              January 29, 2025

STEARNS, D.J.

     Before the court is plaintiff United States Securities and Exchange

Commission’s (the Commission or SEC) renewed motion for summary

judgment as to relief defendant Raimund Gastauer.          For the following

reasons, the court will allow the motion.

                              BACKGROUND
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      The court assumes the reader’s familiarity with the factual and

procedural history of the case. However, by way of brief background, on

October 7, 2022, the court issued a final judgment against Gastauer, finding

him liable on the SEC’s claim of unjust enrichment after his appropriation of

proceeds of securities fraud committed by his son, Michael Gastauer. See

Dkt. # 286 at 1.     The court entered an order of disgorgement against

Gastauer, requiring him to pay $3,315,305 plus prejudgment interest to the

SEC. See Dkt. # 286 at 2. Gastauer appealed the court’s determination that

it could exercise personal jurisdiction over him and the proceeds of the fraud

ancillary to its uncontested jurisdiction over his son, whom the court deemed

as the real defendant-in-interest. See Dkt. # 287 at 1. On February 9, 2024,

the First Circuit reversed the court’s entry of final judgment against

Gastauer, rejecting the court’s theory of derivative jurisdiction and

remanded the matter for further proceedings.1      See SEC v. Gastauer, 913

F.4th 1, 13 (1st Cir. 2024).

      On remand, the court ordered the parties to submit supplemental

briefing on the issue of whether Gastauer had sufficient minimum contacts


      1 As the Commission limited its argument on appeal to the imputation

of jurisdictional contacts from the defendant-in-interest, Michael, to
Gastauer, the First Circuit did not consider whether Gastauer satisfied the
minimum contacts requirement, such as by engaging in financial
transactions facilitated through U.S.-based institutions. See id. at 9 n.4.
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with this forum for the court to exercise specific personal jurisdiction over

him. See Dkt. # 314. The SEC then moved against Gastauer based on his

personal contacts with the forum or, in the alternative, to take jurisdictional

discovery. See Dkt. # 315. Gastauer did not oppose the motion. Responding

to the SEC’s motion, the court ruled that the SEC had “ma[de] out a colorable

case for jurisdiction” and “identifie[d] factual disputes that may show

exercising jurisdiction over Gastauer is proper” – including discovery

confirming the extent of Gastauer’s involvement in financial transactions in

the United States and his obtaining of funds from bank accounts in the

United States.2 Dkt. # 317. The court accordingly permitted the Commission

to take limited jurisdictional discovery on the issue of Gastauer’s

involvement in U.S.-based financial transactions involving Michael, WB21

US Inc., and C Capital Corp.3 See id.

      The Commission properly served on Gastauer document requests and

interrogatories, and noticed a deposition of Gastauer. See Shields Decl. (Dkt.




      2 The court, on the factual record at the time, denied the SEC’s motion

to exercise personal jurisdiction without prejudice.

      3 After applying the balancing test of Société Nationale Industrielle

Aérospatiale v. U.S. District Court for the Southern District of Iowa, 482
U.S. 522 (1987), the court also allowed the Commission to rely on the Federal
Rules of Civil Procedure instead of the Hague Evidence Convention and
Hague Service Convention for jurisdictional discovery. See Dkt. # 317.
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# 320) ¶ 2. After Gastauer, again, refused to produce any documents, answer

the interrogatories, or sit for a deposition, the Commission moved a second

time for an order to compel Gastauer to respond to its discovery requests, or

in the alternative, for sanctions under Federal Rules of Civil Procedure 37(b)

and (d), specifically a finding that personal jurisdiction over Gastauer is

conclusively established. See Dkt. # 318 at 1. Gastauer did not oppose the

Commission’s motion. Instead, he terminated his U.S. counsel and relayed

through his German counsel that “he does not admit to the US courts as a

valid jurisdiction.” See Dkt. # 327; Ex. 4 at 1 (Dkt. # 320-4).

      The court scheduled a hearing for August 6, 2024 via video conference

for the SEC’s motion and ordered that “Gastauer should be prepared to show

cause why sanctions up to and including establishing as admitted

jurisdictional facts should not issue.” Dkt. # 322, 324. The court also stated

that “[i]f Gastauer fails to appear at the hearing, the court will entertain a

motion for default judgment,” but underscored that Gastauer’s appearance

at the hearing would not waive any valid jurisdictional defense that he might

wish to pursue. Dkt. # 324.

      Despite having notice of the hearing, Gastauer failed to appear. Dkt. #

328. The court granted the Commission’s motion and deemed as admitted

facts sufficient to establish specific personal jurisdiction over him. See id.,


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citing Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456

U.S. 694, 705-706 (1982); Hooper-Haas v. Ziegler Holdings, LLC, 690 F.3d

34, 38-39 (1st Cir. 2012) (holding if “the sanction fits the misconduct, a trial

court is not obligated to withhold the sanction.”)

                            LEGAL STANDARD

      Summary judgment is appropriate when, based upon the pleadings,

affidavits, and depositions, “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). “To succeed, the moving party must show that there is an absence

of evidence to support the nonmoving party’s position.” Rogers v. Fair, 902

F.2d 140, 143 (1st Cir. 1990). “‘[T]he mere existence of a scintilla of evidence’

is insufficient to defeat a properly supported motion for summary

judgment.” Torres v. E.I. Dupont De Nemours & Co., 219 F.3d 13, 18 (1st

Cir. 2000), quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

(1986).

                                DISCUSSION

      The Commission now requests that the court reinstate its prior

summary judgment ruling against Gastauer, consistent with its prior

warning that it was prepared to impose sanctions for Gastauer’s refusal to




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cooperate with discovery. See Dkt. # 330 at 1. Gastauer, again, refused to

respond.4

      There has been no subsequent factual development that calls the

court’s prior findings into question.5       Nor are due process concerns

implicated by the court’s reinstatement of its summary judgment ruling. See

Ins. Corp. of Ireland, Ltd., 456 U.S. at 705 (holding that there is no due

process violation when a district court imposes under Rule 37(b) an order

subjecting a party to personal jurisdiction as a sanction for the party’s failure

to comply with a discovery order seeking to establish facts relating to the

court’s personal jurisdiction over it). After Gastauer failed to respond to the




      4 On October 28, 2024, the court reminded Gastauer, after his United

States counsel withdrew, that he had until November 14, 2024 to oppose the
Commission’s Motion for Summary Judgment. See Dkt. # 333. The
Commission emailed Gastauer’s German-based counsel the court’s
reminder, to which Gastauer’s counsel indicated that Gastauer would not be
accepting any “Court documents . . . other than that received from Germany’s
central authority under the Hague Convention on Service.” Klunder Decl.
(Dkt. # 298) ¶¶ 3, 4.

      5 On June 3, 2022, the court found that Gastauer was liable for unjust

enrichment for $500,000 in proceeds that he received on December 26, 2017
from Entity Defendant WB21 US Inc. Dkt. # 263 at 18. After sanctioning
Gastauer – including granting the Commission’s motion for summary
judgment in full – for violating numerous discovery orders, the court on
October 7, 2022 held that Gastauer was liable for unjust enrichment for two
additional wire transfers, totaling $2,815,305, on February 27, 2018 from
Entity Defendant C Capital Corp. that were used to purchase a condominium
at 3 Dollar Bay Place, London.
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SEC’s jurisdictional discovery requests and failed to appear remotely at the

court’s August 6, 2024 hearing, which specifically noted that Gastauer

“should be prepared to show cause why sanctions up to and including

establishing as admitted jurisdictional facts should not issue,” Dkt. # 324,

the court sanctioned him under Rule 37(b), deeming as admitted facts

sufficient to establish specific personal jurisdiction over him – Gastauer’s

litigation misconduct is directly related to the merits of the jurisdictional

issue. Cf. Fuld v. Palestine Liberation Org., 82 F.4th 74, 94 (2d Cir. 2023).

      The court will therefore reinstate its prior finding of summary

judgment and require Gastauer to pay to the Commission his ill-gotten gains,

which total $3,315,305, plus $1,347,326 in prejudgment interest to account

for the additional time that Gastauer has had use of his gains.6 See SEC v.

Sargent, 329 F.3d 34, 40 (1st Cir. 2003) (holding that “prejudgment interest,

like the disgorgement remedy, is intended to deprive wrongdoers of profits

they illegally obtained by violating the securities laws”).

                                   ORDER




      6  The prejudgment interest is calculated based on the IRS
Underpayment Rate, using the date on which Gastauer received the relevant
transfers as the starting date. See McCann Decl. (Dkt. # 332) ¶ 6.
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     For the foregoing reasons, the Commission’s motion is GRANTED.

Gastauer is ordered to pay $4,662,631 to the Commission. The Clerk will

enter judgment accordingly.

                                  SO ORDERED.

                                  /s/ Richard G. Stearns
                                  UNITED STATES DISTRICT JUDGE




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